     Case 2:18-cv-00815-WKW-JTA Document 7 Filed 09/11/20 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

RODNEY MURPHY,                           )
                                         )
             Plaintiff,                  )
                                         )
      v.                                 )      CASE NO. 2:18-CV-815-WKW
                                         )                [WO]
SES OF MONTGOMERY, LLC,                  )
et al.,                                  )
         Defendants.                     )

                                    ORDER

      On August 17, 2020, the Magistrate Judge filed a Recommendation to which

no timely objections have been filed. (Doc. # 6.) Upon an independent review of

the record, it is ORDERED that the Recommendation is ADOPTED and that this

action is DISMISSED without prejudice.

      Final judgment will be entered separately.

      DONE this 11th day of September, 2020.
                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE
